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January 15, 2025


SENT VIA ECF

Magistrate Judge Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:       The New York Times Co. v. Microsoft Corp., et al., No. 1:23-cv-11195
          Daily News, LP, et al. v. Microsoft Corp., et al., No. 1:24-cv-3285
          The Center for Investigative Reporting, Inc. v. Microsoft Corp., et al., No. 1:24-cv-04872
          Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292
          Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Magistrate Judge Wang:

Defendant OpenAI files this notice of supplemental authority to draw the Court’s attention to an
order issued late Monday, January 13, 2025, in the In re ChatGPT matter pending in the
Northern District of California, attached hereto as Exhibit 1. Consistent with the deposition
protocol Defendants propose here (ECF 307), Magistrate Judge Illman issued an order limiting
the parties there to (1) 105 hours of fact depositions (including party and non-party witnesses);
(2) 20 hours of Rule 30(b)(6) testimony; (3) 3.5 hours for any “apex” deposition, and (4)
requiring the parties to informally coordinate the scheduling of depositions with the parties to
the actions pending in the Southern District of New York so that they may attend and participate
if possible. This structure and these time limits are consistent with the proposal submitted by
Defendants to this Court.

Respectfully submitted,

/s/ R. James Slaughter                                 /s/ Elana Nightengale Dawson
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